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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Civil No. 07-SC-4777 (PUS/RLE)

UNITED STATES OF AMERICA,
ex rel, KATHY ONWEZEN, ELAINE
BENNETT, and ALAN BRILL
Plaintiff-Relators,
Vv.

MEDTRONIC, INC.,

Defendant.

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UNITED STATES’ NOTICE OF INTERVENTION-IN~-PART,
DECLINATION-IN-PART FOR PURPOSES OF SETTLEMENT
AND REQUEST FOR LIFTING OF THE SEAL

The United States, Relators, and Defendant have reached
a settlement agreement to resolve this action. In light of
this agreement, and for the purpose of effectuating and
formalizing that resolution, pursuant to the False Claims Act,
31 U.S.C, §8§ 3730(b) (2) and (4), the United States
respectfully advises the Court of its decision to intervene in
part and decline in part for the purposes of settlement.

Specifically, the United States intervenes in this action
with respect to civil claims predicated upon the following

factual allegations (the “Covered Conduct”):

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Medtronic used its Post-market Studies known
as “FLOW” and “TRENDS”, along with its
Registries known as “OMNI” and “P3”
(collectively the “Subject Studies and
Registries”), as vehicles to pay
participating physicians kickbacks to
implant Medtronic pacemakers and ICDs.
Although Medtronic collected data and
information from participating physicians,
it knowingly and intentionally used the
Subject Studies and Registries as a means of
increasing device sales by paying certain
targeted physicians to participate in the
Subject Studies and Registries, which
involved the use of select Medtronic
pacemakers and ICDs. Each of the Subject
Studies and Registries required a new or
previous implant of a Medtronic device in
each patient. In each case, Medtronic paid ~~
each participating physician a fee. The
United States further contends that
Medtronic, acting through its employees,
solicited certain physicians for the Subject
Studies and Registries in order to convert
their business from a competitor’s product
and/or persuade the physicians to continue
using Medtronic products. ‘

The United States declines intervention with respect to
all other claims alleged in this action apart from those based

upon the Covered Conduct.

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Under the terms and conditions of the settlement
agreement among the parties, the United States and Relators
will Eile a Stipulation of Dismissal with respect to all
claims in this action following Medtronic’s scheduled
settlement payment.

Finally, the United States hereby requests that the Court
unseal the Relators’ Amended Complaint, this Notice of
Intervention, and all subsequent filings following this Notice
of Intervention. The United States respectfully requests that
all other filings in this matter remain under seal and not be

made public (including, but not limited to, any applications

filed by the nited States for extensions of the sixty-day seuss Ty tuna ssta ann

investigative period, any applications for partial lifting of

the seal, and any orders previously entered in this matter).
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A Proposed Order is being contemporaneously emailed to

the Court.

Dated: December 1, 2011

Respectfully submitted,

TONY WEST
Assistant Attorney General

B. TODD JONES
United States * Attorney

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Assistant U.S. Attorney
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